 8:13-cr-00138-LSC-TDT       Doc # 78    Filed: 11/27/13    Page 1 of 5 - Page ID # 176




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                                8:13CR138

      vs.
                                                     MEMORANDUM AND ORDER
DANNY JUNIOR BRAVO,

                    Defendant.


      This matter is before the Court on the Findings and Recommendation (Filing No.

73) issued by Magistrate Judge Thomas D. Thalken recommending that the Motion to

Suppress Search Warrant (Filing No. 57) filed by the Defendant, Danny Junior Bravo

(“Defendant”), be denied.         Bravo filed an Objection to the Findings and

Recommendation and a supporting brief (Filing Nos. 74, 75) as allowed by 28 U.S.C. §

636(b)(1)(C) and NECrimR 59.2(a). The Government has submitted a Response to the

Objection (Filing No. 76.) For the reasons set forth below, the matter will be remanded

with instructions for a supplemental evidentiary hearing.

                                    BACKGROUND

      The Defendant was charged in a two count indictment (Filing No. 1) with

conspiring to distribute 500 grams or more of a mixture or substance containing

methamphetamine in violation of 21 U.S.C. § 846, and with possession with intent to

distribute 50 grams or more of a mixture or substance containing methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1). The Defendant moves to suppress

the search warrant issued on April 2, 2013, by the County Court of Scottsbluff County,

Nebraska. (See Filing No. 57.)
 8:13-cr-00138-LSC-TDT        Doc # 78     Filed: 11/27/13    Page 2 of 5 - Page ID # 177




       At the evidentiary hearing held on September 18, 2013, Judge Thalken instructed

the Government to offer the warrant and supporting affidavit as evidence. (Filing No. 72

at 2:23-25.) The Defendant objected to the evidence on the basis that the affidavit

offered was not signed. (Id. at 3:7-8.) Judge Thalken tentatively received what is

marked as Government’s Exhibit No. 1, under the condition that the Government submit

a substituted exhibit with the signed affidavit within two days. (Id. at 2:12-20.) The

record demonstrates that the Government submitted a substituted Exhibit No. 1.

       Following the evidentiary hearing, Judge Thalken issued a Findings and

Recommendation (Filing No. 64). Judge Thalken concluded that under the totality of

the circumstances, using a common sense approach, probable cause existed to issue

the search warrant. Judge Thalken concluded that the Confidential Informant (“CI”) was

reliable, that the omission from the supporting affidavit of the things to be seized or

place to be searched was not a material omission, and that the investigator seeking the

warrant acted in good faith within the warrant’s scope.           Judge Thalken therefore

recommended that the Motion to Suppress (Filing No. 57) be denied.

                                       DISCUSSION

       The Defendant objects to the Findings and Recommendation, in part because

the affidavit submitted to the Court was unsigned and there was no indication that the

matters set forth to the issuing judge were sworn to. Under the Fourth Amendment, “no

Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and

particularly describing the place to be searched, and the persons or things to be

seized.” U.S. Const. Amend. IV; Groh v. Ramirez, 540 U.S. 551, 557 (2004). “An ‘Oath

or affirmation’ is a formal assertion of, or attestation to, the truth of what has been, or is

                                              2
 8:13-cr-00138-LSC-TDT         Doc # 78    Filed: 11/27/13   Page 3 of 5 - Page ID # 178




to be, said.” United States v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (quoting

United States v. Turner, 558 F.2d 46, 50 (2d Cir.1977). Consequently, a warrant cannot

be based solely on unsworn statements. Id.; Frazier v. Roberts, 441 F.2d 1224, 1226–

29 (8th Cir. 1971); United States v. Medearis, 775 F. Supp. 2d 1110, 1120 (D.S.D.

2011).

         The Government’s Exhibit No. 1 included a warrant executed by a judge of the

County Court of Scotts Bluff County, Nebraska. However, the copy of the supporting

affidavit submitted was not signed by the investigating officer. To cure this deficiency,

the Government submitted Substituted Exhibit No. 1 on September 18, 2013, the same

day as the evidentiary hearing. Substituted Exhibit No. 1 is also missing a signature.

Although the last page of Substituted Exhibit No. 1 contains the officer’s signature, the

last page is the Return and Inventory of the evidence seized, not the signature page of

the affidavit. Thus, the Government did not submit a signed affidavit in support of the

warrant within the time granted by Judge Thalken.

         The Government apparently sought to cure this deficiency by attaching a copy of

the signed affidavit to its response to the Defendant’s Objection to the Findings and

Recommendation (Filing No. 76.) The signed affidavit attached to the Government’s

response includes a signature page. Contrary to the Government’s assertion, however,

the affidavit attached to its Response is not the same as the affidavit contained within

Substituted Exhibit No. 1. The Court concludes the Government’s attempt to cure is not

sufficient. Nebraska Criminal Rule 59.2(b)(2) states:

         Findings and Recommendations. A party may not offer additional
         evidentiary materials; however, if the magistrate judge held an evidentiary
         hearing, the objecting party may request a supplemental hearing to offer

                                             3
 8:13-cr-00138-LSC-TDT        Doc # 78    Filed: 11/27/13    Page 4 of 5 - Page ID # 179




       additional evidence. The district judge may hold the supplemental hearing
       if the party shows good cause why the evidence was not presented to the
       magistrate judge.

Because the signed affidavit was not before Judge Thalken as an exhibit or a

substituted exhibit, the Government cannot offer the signed affidavit as evidence in

opposition to the Defendant’s Objection to the Findings and Recommendation.

Accordingly, the warrant in evidence is not supported by a sworn affidavit, and is

Constitutionally deficient.

       The fact that the warrant presented at the hearing did not comply with Fourth

Amendment’s oath or affirmation requirement does not end the inquiry. See United

States v. Thurman, 625 F.3d 1053, 1056 (8th Cir. 2010) (citing United States v. Leon,

468 U.S. 897, 922 (1984) (stating that even where a warrant application was technically

deficient, the exclusionary rule does not require suppression of evidence if certain

criteria are met).    In Leon, the Supreme Court sharply curtailed the use of the

exclusionary rule as a remedy for unconstitutional searches, and noted that the stated

purpose of the exclusionary rule is “to deter police misconduct rather than to punish the

errors of judges and magistrates.” Id. at 916. In this case, the deficiency is in the

evidence offered at the hearing, and there is no indication that the deficiency was the

result of police misconduct. Nevertheless, the Court will not address the applicability of

the Leon good faith exception at this time. Although the warrant in evidence is deficient,

it appears that a signed affidavit existed when the warrant was issued, and is available

to the parties. Rather than proceed on the deficient affidavit, and in an effort to create a

clear record, the Court will remand the matter to Judge Thalken for a supplemental



                                             4
 8:13-cr-00138-LSC-TDT        Doc # 78    Filed: 11/27/13    Page 5 of 5 - Page ID # 180




hearing on the sufficiency of the oath and affirmation supporting the affidavit.

Accordingly,

      IT IS ORDERED:

      1.       The Defendant’s Objection to the Findings and Recommendation (Filing

               No. 74) is sustained;

      2.       The Findings and Recommendation (Filing No. 73) issued by Magistrate

               Judge Thomas D. Thalken are remanded with instructions to conduct a

               supplemental hearing on the oath and affirmation of the affidavit

               supporting the warrant at issue;

      3.       The Government’s Response to the Objection (Filing No. 76) is

               terminated; and

      4.       The Defendant’s Motion to Strike Exhibit (Filing No. 77) is granted.



      Dated this 27th day of November, 2013.

                                                  BY THE COURT:
                                                  s/Laurie Smith Camp
                                                  Chief United States District Judge




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